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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO



 RANAE M. ULRICH, pro se,                             )    CASE NO.      1:22-cv-01848
                                                      )
                          Plaintiff,                  )    JUDGE DAVID A. RUIZ
                                                      )
                          v.                          )
                                                      )
 FORD MOTOR COMPANY, et al.,                          )    JUDGMENT ENTRY
                                                      )
                          Defendants.                 )




       Consistent with the Order of Dismissal of this Court also filed this date, the Defendants’

Motions to Dismiss the Amended Complaint, (R. 37; R. 38), are GRANTED.

       IT IS SO ORDERED.




Dated: September 27, 2024                                 s/ David A. Ruiz
                                                          David A. Ruiz
                                                          United States District Judge
